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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 AMERICAN LIBRARY ASSOCIATION,
 et al.,

                          Plaintiffs,

           v.                                             No. 25-cv-01050-RJL

 KEITH SONDERLING, in his capacity as
 Acting Director of the Institute of Museum
 and Library Services, et al.,

                          Defendants.



                          JOINT PROPOSED BRIEFING SCHEDULE

          Plaintiffs’ motion for a preliminary injunction is currently pending before this Court. See

ECF No. 13. Counsel for Plaintiffs and Defendants have conferred, and the parties jointly

respectfully propose the following briefing schedule for the adjudication of Plaintiffs’ motion:

          Defendants’ opposition to Plaintiffs’ motion: April 21, 2025 by midnight

          Plaintiffs’ reply in support of their motion: April 28, 2025 by 10 am

          Hearing on Plaintiffs’ motion: at the Court’s convenience during the week of April 28



Plaintiffs seek a resolution of their motion prior to May 4, 2025, because that is the date on

which Plaintiffs understand a reduction in force at Defendant the Institute of Museum and

Library Services (IMLS) is scheduled to take effect. Defendants do not object to this proposed

timing.




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Dated: April 16, 2025               Respectfully submitted,

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